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                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                                                                   MDL No. 2741
IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION



                                    PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial
Panel on Multidistrict Litigation, I hereby certify that the foregoing Notice of Potential Tag-
Along Actions was electronically filed on June 22, 2020 with the Clerk of the JPML using the
CM/ECF system and was sent via electronic mail on June 22, 2020 to counsel for Plaintiffs as
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 Dated: June 22, 2020                         Respectfully submitted,


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